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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    DENNIS S. WAKS, BAR #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ANDY CHOY SAEPHAN
6

7
                    IN THE UNITED STATES DISTRICT COURT
8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,     )     CR.S. 07-460-EJG
11                                 )
                    Plaintiff,     )     AMENDED STIPULATION AND ORDER FOR
12                                 )     TEMPORARY RELEASE
          v.                       )
13                                 )     Judge: Gregory G. Hollows
     DAVID THAM, et al.,           )
14                                 )
                    Defendants.    )
15   ______________________________)
16

17        Defendant ANDY CHOY SAEPHAN, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, and the
19   United States Government, by and through its counsel, PHILLIP
20   TALBERT, Assistant United States Attorney, hereby stipulate that
21   ANDY CHOY SAEPHAN be temporarily released from custody on
22   Wednesday, June 25, 2008, from approximately 11:00 a.m. until
23   approximately 4:30 p.m., in order to attend his U.S. Citizenship
24   Oath-taking Ceremony.    Mr. Saephan is currently in custody at the
25   Sacramento County Jail awaiting sentencing; the matter is
26   scheduled for Judgement and Sentencing on July 11, 2008.
27        Our office is in receipt of a letter requesting Mr.
28   Saephan’s appearance at his Oath-taking Ceremony on June 25,

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1    2008.    See Attachment.     At this ceremony the Government will
2    swear-in Mr. Saephan as a U.S. Citizen and he will receive his
3    Citizenship Certificate.       Mr. Saephan’s family began this year-
4    long process, costing over $400.00, prior to his incarceration
5    last September.      If Mr. Saephan is unable to appear at this Oath-
6    taking Ceremony, no further action will be taken on his
7    application and his family will probably forfeit the money and
8    time expended.
9         An investigator and law clerk from our office will pick up
10   Mr. Saephan at the U.S. Marshal's Office in the courthouse,
11   transport him to the Ceremony at 650 Capitol Mall, Sacramento,
12   CA, and return him to the U.S. Marshal's Office immediately after
13   the Ceremony.     The letter indicates the Ceremony will take
14   approximately three (3) hours.        Mr. Saephan will remain in the
15   custody of the investigator during the entire time of his
16   release.    The investigator will keep strict control over Mr.
17   Saephan at all times.
18        This arrangement parallels that which was authorized by this
19   court and successfully undertaken with no complications on June
20   4, 2008, when Mr. Saephan was permitted to personally apply for a
21   U.S. Passport.      Our office inquired into the status of the
22   Passport application this morning and received no information
23   other than it is currently being processed.
24        Our office contacted U.S. Pretrial Services Officer Steve
25   Sheehan this morning.       He does not oppose Mr. Saephan’s temporary
26   release.    Our office also contacted U.S. Probation Officer Thomas
27   Brown.    He also does not oppose Mr. Saephan’s temporary release.
28        For the above reasons, the defendant respectfully requests

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1    that the Court allow this temporary release.
2

3    DATED: June 23, 2008
4
                                             Respectfully Submitted,
5
                                             DANIEL J. BRODERICK
6                                            Federal Defender
7
                                             /s/ Dennis S. Waks
8                                            Supervising Assistant
                                             Federal Defender
9                                            Attorney for Defendant
                                             ANDY CHOY SAEPHAN
10

11   DATED: June 23, 2008                    McGREGOR W. SCOTT
                                             United States Attorney
12

13                                            /s/ Dennis S. Waks for
                                             PHILLIP TALBERT
14                                           Assistant U.S. Attorney
15   SO ORDERED.
16
     Dated: 06/24/08
17                                    /s/ Gregory G. Hollows
                                      United States Magistrate Judge
18
     tham.ord
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